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CIRCUIT CouRT FoR CHARLOTTE: COUNTY, FIORIDA

WARREN WATTERS,
Plaintiff,

va. Case No.: 17000187CA

THE HUNTINGTON
NATIONAL BANK,

Defendant.
/
COMPLAINT

Plaintiff, WARREN WATTERS (“WATTERS”), sues the Defendant,
THE HUNTINGTON NATIONAL BANK, and alleges:

1. This is an action for damages that exceed $15,000.00.

2. At all times material to this action, the Plaintiff
was a resident of this State.

3. The unlawful, tortuous communications and statutory
violations of the Defendant which give rise to this cause of
action occurred in this State,

4, At all times material to this action Defendant, a
National Bank, conducted business in this State to collect money
from Plaintiff and committed statutory violations in this State,
and is otherwise engaged in its usual and customary business and
maintained agents for the transaction of its usual and customary
business in Florida. Defendant qualifies as a Person under

Florida Statute Chapter §559.72,

 
 

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5. Plaintiff had a Mortgage loan with Defendant, THE
HUNTINGTON NATIONAL BANK, the last four digits af the Mortgage
Identification Number are 0873, herein after referred to as “the
account”,

6. The Plaintiff's financial obligation to Pay the debt

Primarily for Personal, family, or household Purposes, whether
ox not such obligations have been reduced to judgment.

7. Since the Plaintiff was obligated to Pay the
aforementioned loans, Plaintiff qualifies ag g natural person
obligated or allegedly obligated to Pay any debt. |

8. At all material times, Defendant acted as a debt
collector, in an effort to collect the alleged debts allegedly
Owed by the Plaintirs.

9. Defendant has engaged in conduct in violations of

 
 

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to the Credit Reporting Agencies with reapect to Plaintift and
by initiating calls to Plaintiff's personal cellphone number
(341) 456-6596, Over fifty times, and with such frequency as can
reasonably be expected to harass, in an effort to collect the
above referenced mortgage debts.

ll. Defendant has a corporate policy of using an automatic
telephone dialing system using an artificial or prerecorded
voice, just as it did when it called Plaintiff's personal
cellphone number,

12. Despite actual knowledge of its wrongdoing, Defendant
continued the Campaign of abuse.

13. Defendant’ s corporate policy is structured to continue
to call individuals like Plaintiff, despite these individuals
explaining to the Defendant that they had retained legal counsel
with respect to such debts.

14. Defendant’ s Corporate policy provides no means for the
Plaintiff to have his aforementioned telephone number removed
from the call list.

15. Defendant has a corporate policy to harass and abuse
individuals despite actual knowledge that the called parties did
not provide prior express consent to receive the calls, or had
revoked such prior express consent verbally, in writing or

through retention of legal counsel.
 

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16. Defendant followed its corporate policies when
attempting to communicate with the Plaintiff in connection with
the debt at issue.

17, Defendant has been the recipient of numerous complaints
from debtors, alleged debtors, and non-debtors across the
Country, similar to those alleged in this action by Plaintiff.

18. Defendant should be in possession or control over call
logs, account notes, auto-dialer reports and/or other records
that detail the exact number of calls made to Plaintiff's
cellular telephone number as well as all written communications
sent.

19. As a direct and proximate result of Defendant’s acts or
omissions, as set forth herein, Plaintiff has suffered
compensatory, Statutory and actual damages in the form of
emotional distress, anxiety, fear, worry, embarrassment, and
mental suffering, pain, anguish, and loss of capacity to enjoy
life, and are continuing as of the filing of this complaint.

20. All conditions precedent to the filing of this action
have been performed or are excused.

21. Plaintiff has been the object of collection activity by
Defendant arising from the collection of consumer debts.

22. Plaintiff was forced to retain undersigned counsel and

has or will incur attorney’s fees, legal assistant fees and

 
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costs. Counsel has been retained on a contingency basis, and
Plaintiff seeks a contingency risk multiplier,
COONT I
Violation of Telephone Consumer
Protection Act of 1991, 47 U.8.C. §227 (“TCPA”)

23. Plaintiff brings this action to recover damages for
acts on the part of the Defendant in violation of the Telephone
Consumer Protection Act of 1991, 47 U.S.c. $227 (“TCPA”) .

24, Paragraphs 1 -22 are re~alleged.

25. Defendant has engaged in conduct in violation of the
TCPA and constituting intentional harassment and abuse of the
Plaintiff, by and through its agents and representatives, on
dozens of occasions Within the last three-year period Preceding
the filing of this action, |

26. Plaintiff is the “called party” with respect to the
calls placed on his personal cellphone number (942) 456-6596,

27. At all material times, Defendant did transact business
in Charlotte County, Florida as a “debt collector”, Defendant
sought to collect alleged debts from Plaintiff that arose from
transactions incurred for personal, family or househo2d purposes
and is therefore a “consumer debt”.

28. At all material times, Defendant was the servicer of
Mortgage loan, which is the subject of the unlawful collection

action activity described in this complaint.

 
 

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29. Defendant employed business practices in intentional

referenced mortgage loan debts from Plaintife.

30. Plaintife is the regular user of the cellular telephone
number (941) 456-6596, and was the called Party and recipient of
Defendant's described calls.

31. During the calendar year 2015, Defendant initiated its
campaign of telephone collection calls to the Plaintiff on the
aforementioned personal cellphone number,

32. Calling Plaintiff’ s aforementioned cellular telephone
number from an automated telephone dialing system and leaving
messages on Plaintiff's answering machine stating that the
message was left in “an attempt to collect a debt”.

33. Calling Plaintiffs aforementioned cellular telephone
number from an automated telephone dialing system and hanging up
either prior to or as soon as Plaintiff, or Plaintiff's
answering machine or voice mail box answered the call.

34. To date, Plaintiff haa Placed over fifty phone calls to
Plaintiff's personal cellphone number in an effort to collect
the alleged debts at issue, and the calls continue through the
date of filing of this Complaint (or such time as will be

established after a thorough review of Defendant’ s records).

 
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35. The telephone calls at issue were placed by Dafendant
using an artificial or prerecorded voice, as specified in TCPA,
47 U.S.C. Para.227(b) (1) (B), while using an avtomated telephone
dialing system (“ATDS”) as specified in TCPA, 47 U.S.C.,
$227(a) (1), which has the Capacity to store or produce telephone
numbers to be called using a random or sequential number
generator, and to dial such numbers.

36. Defendant initiated all of the calls at issue to
Plaintiff’s aforementioned cellular telephone number without the
“prior express consent” of Plaintiff, as specified in TCPA, 47
G.S.C., §227(b) (1) (B).

37. None of the telephone calls at issue were Piaced by
Defendant to Plaintiff for emergency purposes.

38. Defendant willfully and/or knowingly violated the TCPA
with respect to Plaintiff.

39. As a legal and Proximate cause of the aforesaid
misconduct and violations, Plaintiff has suffered statutory
damages of $1,500.00 per violation, actual damages and attorney
fees and costs.

WHEREVORE, Plaintiff, WARREN WATTERS, demands judgment
against Defendant, THE HUNTINGTON NATIONAL BANK, for statutory
damages, damages, costs, interest, attorney fees and such other

relief as this court deems appropriate,
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COUNT rr
Violation of Florida Consumar Collection
Practices Act $559.72 (18)

40. Paragraphs 1 ~22 are incorporated by reference.

41. At all material times, Defendant was aware that
Plaintiff was heing represented with regard to the debt by the
undersigned attorney, as the undersigned was actively
representing Plaintiff in litigation between the parties at the
time the calls were made in Charlotte County, Case No.:
2007CA4429; and Case No.: 2015CA000457.

42. Defendant Sngaged in numerous acts and/or omissions
prohibited by 15 u.s.c. $1692 (c) (a) (2) by communicating in
connection with the collection of a debt when Defendant knew, or
Should have known, Plaintiff was represented by an attorney with
regard to the purported debt.

43. When Defendant made its demands in writing and via
telephone calls, and at the time of the violations, the
Defendant had actual knowledge that Plaintiff was being
represented by an attorney. See attached Notice of Appearance.

44. Despite being on notice that Plaintiff was being
represented by an attorney, Defendant made over fifty
communications directly to the Plaintiff for collection
purposes,

45. Plaintiff by and through his attorneys, Gregg Martin

Horowitz, P.A., defended and prevailed in the first lawsuit on
 

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the note, which Placed Defendant on notice that plaintife was
represented by counsel with respect to the debt.

46. During the time of the collection attempts, and at the
time of the violations, the Defendant had actual knowledge that
Plaintiff was under retainer by the Law Offices of Gregg Martin
Horowitz, P.A., despite this representation, the Defendant made
telephone calls and made written demands to the Plaintift in
relation to the collection of the debt.

47. At no time did Plaintiff directly initiate any form of
communicat ion with the Defendant.

46. At no time did legal counsel for the Plaintiff fail to
respond to any communication nor did legal counsel receive any
communication from Defendant with respect to the debt.

49. Despite being on notice of counsel’s representation,
Befendant directly communicated with the Plaintiff for the
Purpose of collecting a debt. Defendant made over fifty
telephone calls and written communications to the Plaintiff,

50. The Defendant had actual knowledge that the Plaintiff
was represented by counsel and despite this actual knowledge
persisted with unlawful, tortuous communications and statutory
violations complained of herein.

91. Florida Statutes §559.72 sete forth in pertinent Part:

“Prohibited Practices”
~-In collecting consumer debts, no personal shall:

 
 

 

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(18) Communicate with a debtor if the person
knows that the debtor is represented by an
attorney with respect to such debt and has
knowledge of, or can readily ascertain, such
attorney's name and address, unless. the
debtor’s attorney fails to respond within 30
days to a communication fram the person,
unless the debtor's attorney consents to a
direct communication with the debtor, or
unless the debtor initiates the
communication,

52. The Defendants telephone calls and written
communications to the Plaintiff Violated Florida Statute
$559.72(18) as the Defendant had absolute knowledge that the
Plaintiff was represented by an attorney.

543. Florida Statute Provides for Statutory damages of
$1,000.00 for each violation and as the Defendant violated the
aforementioned Statute, Plaintiff is entitled to the statutory
damages of $1,000..

54. The Defendant willfully violated the following
provisions of Florida Statute $559.72 in that Defendant
communicated with the plaintiff about the debt knowing the
consumer wags represented by counsel, in violation of §559.72(18)
Fla. Stat.

WHEREITORE, Plaintiff, WARREN WATTERS, demands judgment
against Defendant, THE HUNTINGTON NATIONAL BANK, for Statutory

damages, damages, costs, interest, attorney fees and such other

relief as this court deems appropriate.
 

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A Jury Trial is xequested on all issues of fact,

 

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